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                          Eugene Kim, SBN: 221753
                      1   Email: eugene.kim@streamkim.com
                      2   STREAM KIM HICKS WRAGE & ALFARO, PC
                          3403 Tenth Street, Suite 700
                      3   Riverside, CA 92501
                          Telephone: (951) 783-9470
                      4   Facsimile: (951) 783-9475
                      5
                          Attorney for Applicant,
                      6   JAY PARK
                      7
                                                      UNITED STATES DISTRICT COURT
                      8
                                                    NORTHERN DISTRICT OF CALIFORNIA
                      9
                 10                                             SAN JOSE DIVISION

                 11
                          In re Ex Parte Application of                     ) CASE NO. 5:25-mc-80005
                 12                                                         )
                          JAY PARK,                                         ) DECLARATION OF JISU LEE IN
                 13                                                         ) SUPPORT OF APPLICANT’S EX PARTE
                 14                                                         ) APPLICATION FOR AN ORDER
                                   Applicant.                               ) PURSUANT TO 28 U.S.C. § 1782
                 15                                                         ) AUTHORIZING DISCOVERY FOR USE
                                                                            ) IN A FOREIGN CIVIL PROCEEDING
                 16                                                         )
                                                                            )
                 17
                 18          I, Jisu Lee, declare that:

                 19              1.      I am over the age of 18 years old, I am competent to testify on the matters stated in

                 20       this declaration, and I have personal knowledge of the matters stated herein, unless expressly stated

                 21       otherwise.

                 22              2.      This declaration is in support of the Applicant’s Ex Parte Application for an Order

                 23       Pursuant to 28 U.S.C. § 1782 Authorizing Discovery for Use in a Foreign Civil Proceeding

                 24       (“Application”).

                 25              3.      I am the Head of Brand Communication at MORE VISION. (“MORE VISION”),

                 26       a South Korean record label established in 2022 under the laws of the Republic of Korea (“Korea”).

                 27       MORE VISION’s principal place of business is in Korea. One of my responsibilities at MORE

                 28       VISION is to deal with social media issues, including but not limited to false, defamatory or
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ATTORNEYS AT LAW                                                           1
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      STE 700                                                DECLARATION OF JISU LEE
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                      1   harassing statements made about the company and its artists.

                      2             4.        MORE VISION is a private company engaged in the entertainment business with

                      3   founded by Jay Park (“Applicant”), a renowned musician and entrepreneur based in South Korea.

                      4             5.        Between October 17, 2024 and October 31, 2024, an unidentified person using the

                      5   YouTube handle “@뿌링사무소” (“Bburingsamuso”) published two YouTube short-form videos

                      6   (“Shorts”) and two community posts about the Applicant on his or her YouTube channel titled

                      7   “Bburingsamuso” (Korean original: “뿌링사무소”). The unidentified person continued to attack

                      8   Applicant in the comment section of those posts.

                      9             6.        The Shorts, community content, and comments contain false, defamatory and/or

                 10       harassing statements about the Applicant. These include but are not limited to the following:

                 11                      a.      Short titled “제시 측근 코알라 ‘나는 한국인’?” (“Jessi’s associate Koala ‘I

                 12                              am Korean’?“) 1 (English translation). This video also makes claims such as

                 13                              “Koala and their group are part of the Triads and supply drug to the hip-hop

                 14                              scene.” The video shows Koala in Jay Park’s company, More Vision, and also

                 15                              shows Koala depicted next to Jay Park with the YouTuber emphasizing their

                 16                              close relationship. Attached as Exhibit 1 is a true and correct screenshot of the

                 17                              YouTube Short with English translations.

                 18                      b.      In comments posted on the short 2, the YouTuber states “Is Jay Park some kind

                 19                              of untouchable figure? Are we not allowed to speak about visible facts? At the

                 20                              Rolling Loud 2023 Thailand OKX Stage, Jay Park and Jessi were the main

                 21                              Korean artists, and OKX is a cryptocurrency exchange. Don’t you get it? Then

                 22                              stop telling me what to do,” implying that the Applicant is part of alt-

                 23                              cryptocurrency and unethical financial dealings. The YouTuber comments in

                 24                              response to the comment on his or her Short “let’s clean up these kinds of

                 25                              foreigners” with “burn them” (English translation). Attached as Exhibit 2 is a

                 26                              true and correct screenshot of the comments with English translations.

                 27
                 28       1
                              https://www.youtube.com/shorts/eInpSGEKvoA
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                              https://www.youtube.com/shorts/eInpSGEKvoA
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                      1          c.    In a community content posted by the YouTuber, he or she states “A highly

                      2                significant video will be uploaded soon to provide insight into the double lives

                      3                of Korean American celebrities. Prepare to be furious. When Korean American

                      4                entertainers (referring to Jay Park along with his picture) who exploit Korea

                      5                accumulate wealth, their Korean Town cronies often follow as drug couriers.

                      6                To these Korean Americans, Korea isn’t a place to settle, it is merely a

                      7                playground where they make money, cause chaos, enjoy themselves, and leave

                      8                when it suits them . . . P.S. I really want to smash all of your heads” (English

                      9                translation). This post was posted alongside Jay Park’s photo. This post has

                 10                    since been deleted, but attached as Exhibit 3 is a true and correct screenshot of

                 11                    the post with English translations.

                 12              d.    Short titled “이진호 도박 자수엔 제시가 껴있” (“Lee Jin-Ho’s gambling

                 13                    confession involves Jessi”) (English translation). Although this video does not

                 14                    directly use Jay Park’s image or explicitly mention his name, it makes claims

                 15                    such as, “Koala and their group are part of the Triads and supply drugs to the

                 16                    hip-hop scene” (referring to Jay Park as well). Toward the end of the video, the

                 17                    speaker says, “especially you, soju seller, you’re the worst,” implying and

                 18                    indirectly referencing a specific individual, Jay Park. This video has since been

                 19                    deleted, but attached as Exhibit 4 is a true and correct screenshot of the Short

                 20                    with English translations.

                 21              e.    In a community content posted by the YouTuber, he or she states “as times have

                 22                    progressed, so too have the business ventures of the Triad. Do you remember

                 23                    the major investment fraud that occurred after claims of recreating the likeness

                 24                    of famous celebrities using deep-fake and AI? That was all the work of this

                 25                    Triad. OKX is a Chinese cryptocurrency (futures) exchange. It’s a massive

                 26                    exchange, ranking number two in transaction volume worldwide.” (English

                 27                    translation). The YouTuber further adds “Even while producing outstanding hit

                 28                    songs, Jay Park has occasionally released Chinese language tracks. Last year,
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                      1                        he made a remarkable appearance on the Chinese TV show RAP OF CHINA

                      2                        and had the establishment of the stylish new MORE VISION headquarters in

                      3                        Nonhyeon-dong” (English translation). This community post was posted to

                      4                        Bburingsamuso’s public YouTube channel alongside with Jay Park’s photo.

                      5                        This post has since been deleted, but attached as Exhibit 5 is a true and correct

                      6                        screenshot of the post with English translations.

                      7                f.      In a community content posted by the YouTuber, he or she states “I will not let

                      8                        the suspicions surrounding Jessi’s assault case be quietly buried with a second

                      9                        apology letter or by using Jessi as a scapegoat. I will continue to uncover the

                 10                            suspicions behind this case and bring up chronic issues. . . Our country belongs

                 11                            to Koreans, not to Korean Americans. We must protect our country. P.S. Jessi,

                 12                            Jay Park, Koala, those pig bastards – unfollowed them all” (English translation).

                 13                            This post has since been deleted, but attached as Exhibit 6 is a true and correct

                 14                            screenshot of the post with English translations.

                 15              7.         These posts and shorts have millions of views and thousands of comments.

                 16       The YouTuber’s posts have inflicted and continued to inflict significant reputational damage on

                 17       the Applicant. The Youtuber’s false allegations, defamatory and/or harassing statements

                 18       against the Applicant caused damages to Applicant and his company which is also featured on

                 19       the YouTuber’s channel.

                 20              8.         To date, the Applicant’s efforts to locate this anonymous person or entity by

                 21       searching publicly available information have failed to find the true identity of the YouTuber.

                 22              9.         Based on the words and expressions in these posts that were originally published in

                 23       Korean, we believe that the YouTuber is a native Korean speaker and is likely to be based in Korea.
                 24       To date, we have not discovered anything that would indicate the YouTuber is a non-Korean

                 25       citizen or that he or she resides in the US.

                 26              10.        On December 10, 2024, the Applicant filed a civil lawsuit against the anonymous

                 27       YouTuber in Seoul, Korea (“Korean Civil Matter”) for publishing defamatory YouTube videos.

                 28       The Applicant is claiming defamation pursuant to Articles 750 and 751 of the Civil Act of Korea
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ATTORNEYS AT LAW                                                             4
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                      1   against the YouTuber.

                      2          11.     Unless the identity of the anonymous YouTuber is revealed, the Applicant will not

                      3   be able to proceed with the Korean Civil Matter. As a result, the Applicant intends to use the

                      4   identity of the anonymous YouTuber for the Korean Civil Matter.

                      5          12.     The anonymous YouTuber’s false, defamatory and/or harassing statements have

                      6   caused irreparable harm to the Applicant. The YouTuber may continue to upload false, defamatory

                      7   and/or harassing statements about the Applicant and there is nothing stopping them from doing so

                      8   unless the Applicant can proceed with the Korean Civil Matter. We look forward to identifying

                      9   the person responsible for these statements so that the Applicant’s rights can be recognized by the

                 10       Korean civil court.

                 11              Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

                 12       United States of America that the foregoing is true and correct.

                 13
                           Executed on January 7, 2025
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                     EXHIBIT 1
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                     EXHIBIT 2
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                     EXHIBIT 3
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                     EXHIBIT 4
                                            Case 5:25-mc-80005             Document 1-2         Filed 01/09/25            Page 14 of 18




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Ⱥ˓ɯƠɔǩ˃ǍɝƠȺɯ˃˃˨ǍȫƠ˃㍚㑃ʅƠɝƠƠɶǗ˓ȫǩȺʴșʴʅ˨ʫƠʴǩʫƠʴ˓ʅȔ˓ȫǩóʴȺƠǗ˃ƠɶǗ˃˨ʫʫɝ̺Ǘʴ˨ș˃˓ʅ˓ȫǩȫȺʫ㎿ȫʅʫ˃Ǎǩɶǩ㍙㑃

óʅ̭ƠʴǗ˓ȫǩǩɶǗʅȔ˓ȫǩ̨ȺǗǩʅ㍚˓ȫǩ˃ʫǩƠɔǩʴ˃Ơ̺˃㍚
㐱@˃ʫǩǍȺƠɝɝ̺̺ʅ˨㍚˃ʅɍ˨˃ǩɝɝǩʴ㍚̺ʅ˨㑄ʴǩ˓ȫǩ̭ʅʴ˃˓㍙㐲Ⱥɯʫɝ̺ȺɶșƠɶǗȺɶǗȺʴǩǍ˓ɝ̺ʴǩȔǩʴǩɶǍȺɶșƠ˃ʫǩǍȺȔȺǍȺɶǗȺ̨ȺǗ˨Ơɝ㏙㚬Ơ̺ÖƠʴɔ㏚㍙




                                                                                                  㐱@˃ʫǩǍȺƠɝɝ̺̺ʅ˨㏙㚬Ơ̺ÖƠʴɔ㏚㍚˃ʅɍ˨˃ǩɝɝǩʴ㍚̺ʅ˨㑄ʴǩ˓ȫǩ̭ʅʴ˃˓㑃
                                      v˃ǩ̨ǩɶ˓ȫƠ˓ʫǩʴ˃ʅɶ㏙㚬Ơ̺ÖƠʴɔ㏚Ⱥɶ̨ʅɝ̨ǩǗȺɶ˓ȫȺ˃㍠
                                                        vǗȺǗɶ㐴˓˓ȫȺɶɔʅȔ˓ȫǩɯ˓ȫƠ˓̭Ơ̺㍙
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                     EXHIBIT 5
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                     ˃˓Ⱥɯǩ˃ȫǪ̛ǩʫʴʅșʴǩ˃˃ǩǗ㍚˃ʅ˓ʅʅȫǪ̛ǩ˓ȫǩǄ˨˃Ⱥɶǩ˃˃̨ǩɶ˓˨ʴǩ˃ʅȔ˓ȫǩóʴȺƠǗ㍙
                     1ʅ̺ʅ˨ʴǩɯǩɯǄǩʴ˓ȫǩɯƠɍʅʴȺɶ̨ǩ˃˓ɯǩɶ˓ȔʴƠ˨Ǘ˓ȫƠ˓ʅǍǍ˨ʴʴǩǗƠȔ˓ǩʴǍɝƠȺɯ˃ʅȔʴǩǍʴǩƠ˓Ⱥɶș˓ȫǩ
                     ɝȺɔǩɶǩ˃˃ʅȔȔƠɯʅ˨˃ǍǩɝǩǄʴȺ˓Ⱥǩ˃˨˃ȺɶșǗǩǩʫȔƠɔǩƠɶǗv㍠
                     óȫƠ˓̭Ơ˃Ơɝɝ˓ȫǩ̭ʅʴɔʅȔ˓ȫȺ˃óʴȺƠǗ㍙
                     ±ĬȺ˃Ơ)ȫȺɶǩ˃ǩǍʴ̺ʫ˓ʅǍ˨ʴʴǩɶǍ̺㏙Ȕ˨˓˨ʴǩ˃㏚ǩ̷ǍȫƠɶșǩ㍙v˓㐴˃ƠɯƠ˃˃Ⱥ̨ǩǩ̷ǍȫƠɶșǩ㍚ʴƠɶɔȺɶșɶ˨ɯǄǩʴ
                     ˓̭ʅȺɶ˓ʴƠɶ˃ƠǍ˓Ⱥʅɶ̨ʅɝ˨ɯǩ̭ʅʴɝṶ̈́ȺǗǩ㍙




                     @̨ǩɶ̭ȫȺɝǩʫʴʅǗ˨ǍȺɶșʅ˨˓˃˓ƠɶǗȺɶșȫȺ˓˃ʅɶș˃㍚
                     Ơ̺ÖƠʴɔȫƠ˃ʅǍǍƠ˃ȺʅɶƠɝɝ̺ʴǩɝǩƠ˃ǩǗ)ȫȺɶǩ˃ǩ㎿ɝƠɶș˨Ơșǩ˓ʴƠǍɔ˃㍙
                     Ơ˃˓̺ǩƠʴ㍚ȫǩɯƠǗǩƠʴǩɯƠʴɔƠǄɝǩƠʫʫǩƠʴƠɶǍǩʅɶ˓ȫǩ)ȫȺɶǩ˃ǩóĠ˃ȫʅ̭ÝÖ±`)nv¤ƠɶǗȫƠǗ
                     ˓ȫǩǩ˃˓ƠǄɝȺ˃ȫɯǩɶ˓ʅȔ˓ȫǩ˃˓̺ɝȺ˃ȫɶǩ̭ ±Ý@Ġvçv±¤ȫǩƠǗʱ˨Ơʴ˓ǩʴ˃Ⱥɶ¤ʅɶȫ̺ǩʅɶ㎿Ǘʅɶș㍙




                     ˓˓ȫǩ±Ĭç˓ƠșǩʅȔ˓ȫǩȫȺʫ㎿ȫʅʫȔǩ˃˓Ⱥ̨ƠɝÝʅɝɝȺɶșʅ˨Ǘ㋋㋉㋋㋌óȫƠȺɝƠɶǗ㍚Ơ̺ÖƠʴɔƠɶǗǩ˃˃Ⱥ
                     ʴǩʫʴǩ˃ǩɶ˓ǩǗçʅ˨˓ȫʅʴǩƠƠ˃ȔǩƠ˓˨ʴǩǗƠʴ˓Ⱥ˃˓˃㍙




                     ㏙Ơ̺ÖƠʴɔ㑄˃ʫȫʅ˓ʅȺ˃˨˃ǩǗ㏚
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                     v̭Ⱥɝɝɶʅ˓ɝǩ˓˓ȫǩ˃˨˃ʫȺǍȺʅɶ˃˃˨ʴʴʅ˨ɶǗȺɶșǩ˃˃Ⱥ㑄˃Ơ˃˃Ơ˨ɝ˓ǍƠ˃ǩǄǩʱ˨Ⱥǩ˓ɝ̺Ǆ˨ʴȺǩǗ̭Ⱥ˓ȫƠ
                     ˃ǩǍʅɶǗƠʫʅɝʅș̺ɝǩ˓˓ǩʴʅʴǄ̺˨˃Ⱥɶșǩ˃˃ȺƠ˃Ơ˃ǍƠʫǩșʅƠ˓㍙
                     v̭ȺɝɝǍʅɶ˓Ⱥɶ˨ǩ˓ʅ˨ɶǍʅ̨ǩʴ˓ȫǩ˃˨˃ʫȺǍȺʅɶ˃ǄǩȫȺɶǗ˓ȫȺ˃ǍƠ˃ǩƠɶǗǄʴȺɶș˨ʫǍȫʴʅɶȺǍȺ˃˃˨ǩ˃㍙


                     ±˨ʴǍʅ˨ɶ˓ʴ̺Ǆǩɝʅɶș˃˓ʅʅʴǩƠɶ˃㍚ɶʅ˓˓ʅʅʴǩƠɶ㎿ɯǩʴȺǍƠɶ˃㍙ĥǩɯ˨˃˓ʫʴʅ˓ǩǍ˓ʅ˨ʴǍʅ˨ɶ˓ʴ̺㍙


                     Ö㍙ç㍙ǩ˃˃Ⱥ㍚Ơ̺ÖƠʴɔ㍚ʅƠɝƠ㍚˓ȫʅ˃ǩʫȺșǄƠ˃˓ƠʴǗ˃㏁˨ɶȔʅɝɝʅ̭ǩǗ˓ȫǩɯƠɝɝ㍙
